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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                              Judge William J. Martínez

Criminal Case No. 22-cr-012-WJM

UNITED STATES OF AMERICA,

        Plaintiff,

v.

LAWRENCE RUDOLPH,

        Defendant.


       ORDER DENYING DEFENDANT’S MOTION FOR TEMPORARY RELEASE
     PURSUANT TO 18 U.S.C. § 3142(i) AND DEFENDANT’S MOTION TO REVOKE
             ORDER OF DETENTION AND REQUEST FOR HEARING


        The Government charges Defendant Lawrence Rudolph with one count of

foreign murder in violation of 18 U.S.C. §§ 1119 and 1111, and one count of mail fraud

in violation of 18 U.S.C. §§ 1341 and 2. (ECF No. 26.) On January 4, 2022, United

States Magistrate Judge Kristen L. Mix ordered that the Defendant be detained pending

trial. (ECF No. 23.) He is currently detained at the Denver Downtown Detention

Center. (ECF No. 38 at 8.)

        Currently before the Court is the Defendant’s Motion for Temporary Release

Pursuant to 18 U.S.C. § 3142(i) (“Motion for Temporary Release”), filed on January 6,

2022. (ECF No. 31.) Also before the Court is the Defendant’s Motion to Revoke Order

of Detention and Request for Hearing (“Motion to Revoke”), filed on January 17, 2022.

(ECF No. 42.)

        No hearing is necessary to resolve the Motion for Temporary Release and
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Motion to Revoke. For the reasons explained below, the Court affirms Judge Mix’s

detention order and finds that Defendant’s request for temporary release is unavailing

under the circumstances. Therefore, the Court leaves Judge Mix’s January 4, 2022

detention order in place.

                                 I. LEGAL FRAMEWORK

A.     Initial Standard

       The Court “shall order the detention of the [defendant] before trial” if it finds, after

a hearing, “that no condition or combination of conditions will reasonably assure the

appearance of the person as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(e)(1).

       “Subject to rebuttal by the [defendant], it shall be presumed that no condition or

combination of conditions will reasonably assure the appearance of the [defendant] as

required and the safety of the community if the judicial officer finds that there is probable

cause to believe that the person committed . . . an offense under section 924(c), 956(a),

or 2332b of this title.” Id. § 3142(e)(3)(B).

       “Once the presumption is invoked, the burden of production shifts to the

defendant. However, the burden of persuasion regarding risk-of-flight and danger to the

community always remains with the government. The defendant’s burden of production

is not heavy, but some evidence must be produced.” United States v. Stricklin, 932

F.2d 1353, 1354–55 (10th Cir. 1991).

       “The facts the judicial officer uses to support a finding . . . that no condition or

combination of conditions will reasonably assure the safety of any other person and the

community shall be supported by clear and convincing evidence.” 18 U.S.C.



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§ 3142(f)(2). As for risk of flight, the burden is preponderance of the evidence. United

States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003).

      The factors the Court “shall” consider when deciding whether to grant pretrial

release are:

               (1) the nature and circumstances of the offense charged,
               including whether the offense is a crime of violence, . . .;

               (2) the weight of the evidence against the person;

               (3) the history and characteristics of the person, including—

                  (A) the person’s character, physical and mental condition,
                  family ties, employment, financial resources, length of
                  residence in the community, community ties, past
                  conduct, history relating to drug or alcohol abuse,
                  criminal history, and record concerning appearance at
                  court proceedings; and

                  (B) whether, at the time of the current offense or arrest,
                  the person was on probation, on parole, or on other
                  release pending trial, sentencing, appeal, or completion
                  of sentence for an offense under Federal, State, or local
                  law; and

               (4) the nature and seriousness of the danger to any person
               or the community that would be posed by the person’s
               release. . . .

18 U.S.C. § 3142(g). Additionally, the presumption of detention, even if countered by

the defendant with adequate evidence, “remains a factor for consideration by the district

court in determining whether to release or detain.” Stricklin, 932 F.2d at 1355.

B.    Reopening Detention Order

      If a court detains the defendant, the defendant may ask that court to revisit that

conclusion under certain circumstances.

      First, the defendant can argue that relevant information, not previously known,

has come to light:

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                 The [detention] hearing may be reopened, before or after a
                 determination by the judicial officer, at any time before trial if
                 the judicial officer finds that information exists that was not
                 known to the movant at the time of the hearing and that has
                 a material bearing on the issue whether there are conditions
                 of release that will reasonably assure the appearance of
                 such person as required and the safety of any other person
                 and the community.

18 U.S.C. § 3142(f)(2).

       Second, the defendant may argue that preparation of a defense or other

“compelling” circumstances justify “temporary release”:

                 The judicial officer may, by subsequent order, permit the
                 temporary release of the person, in the custody of a United
                 States marshal or another appropriate person, to the extent
                 that the judicial officer determines such release to be
                 necessary for preparation of the person’s defense or for
                 another compelling reason.

Id. § 3142(i).

C.     Review

       “If a person is ordered detained by a magistrate judge, . . . the person may file,

with the [district court], a motion for revocation or amendment of the order.” Id.

§ 3145(b). The district judge then reviews the magistrate judge’s decision de novo.

Cisneros, 328 F.3d at 616 n.1.

                 De novo review, however, does not necessarily mean
                 holding an evidentiary hearing. Although a district court may
                 start from scratch and take evidence, it may also review the
                 evidence that was before the magistrate judge and make its
                 own independent determination as to whether the magistrate
                 judge’s findings and detention order are correct. This is a
                 matter of discretion for the district court.

United States v. Romero, 2010 WL 11523871, at *2 (D. Colo. May 17, 2010) (internal

quotation marks and citations omitted).



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                                    II. BACKGROUND

       Defendant was charged by complaint on December 16, 2021 and charged by a

superseding criminal complaint on December 22, 2021. (ECF Nos. 1, 4.) In the

superseding criminal complaint, Defendant was charged with violations of 18 U.S.C.

§ 1341 (mail fraud), and 18 U.S.C. §§ 1119 and 1111 (foreign murder). (ECF No. 4.)

       On January 4, 2022, Judge Mix conducted a detention hearing and subsequently

issued an order of detention (the “Detention Order”). (ECF Nos. 23, 37.) In the

Detention Order, Judge Mix noted that the Defendant was charged with murdering his

wife while on safari in Zambia, is wealthy, owns property in Mexico, has traveled

extensively, and has considerable experience with firearms. (ECF No. 23 at 3.) She

further noted the strength of the case against Defendant, as well as the Government’s

proof of “the [D]efendant’s volatile personality and threats of physical harm to others,

including his efforts to hire a ‘hit man’ to either scare or injure others.” (Id.) Based on

the record, Judge Mix concluded that “no condition or combination of conditions of

release will reasonably assure the appearance of the [D]efendant and the safety of the

community.” (Id.)

       The next day, on January 5, 2022, a grand jury charged Defendant with

violations of violations of 18 U.S.C. § 1341 (mail fraud), and 18 U.S.C. §§ 1119 and

1111 (foreign murder). (ECF No. 26.)

       On January 6, 2022, Defendant filed the Motion for Temporary Release. (ECF

No. 31.) The Government responded on January 10, 2022 (ECF No. 35), and

Defendant replied on January 11, 2022 (ECF No. 38).

       On January 17, 2022, Defendant filed the Motion to Revoke. (ECF No. 42.) The



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Government responded on January 20, 2022 (ECF No. 45), and the Defendant replied

on the same day (ECF No. 46).

                                     III. ANALYSIS

A.    Review of Judge Mix’s Detention Order

      1.     Whether a Presumption of Detention Applies

      During the Detention Hearing, Judge Mix concluded that a rebuttable

presumption of detention applied because there is probable cause to believe that the

Defendant committed an offense under 18 U.S.C. § 924(c). (ECF No. 37 at 152.) In

coming to this conclusion, Judge Mix relied on the language of the Bail Reform Act,

§ 924(c), and two cases addressing the interaction between the Bail Reform Act and §

924(c) in cases involving foreign crimes, United States v. Mehanna, 669 F. Supp. 2d

160 (D. Mass. 2009) and United States v. Lee, 206 F. Supp. 3d 103 (D.D.C. 2016).

(ECF No. 37 at 153–54.)

      In his Motion to Revoke, the Defendant argues that “[t]he presumption does not

apply in this case because [he] has not been charged with a § 924 offense.” (ECF No.

42 at 6 (citing United States v. Chimurenga, 760 F.2d 400, 405 (2d Cir. 1985); United

States v. Payden, 759 F.2d 202, 205 (2d Cir. 1985)).)

      In response, the Government argues that the statutory presumption of detention

applies because “the plain text of [18 U.S.C. § 3142(e)(3)] focuses on a finding by the

judicial officer, not upon the charges brought.” (ECF No. 45 at 2–3 (collecting cases).)

The Court agrees with the Government.

      The plain language of the Bail Reform Act provides that a presumption of

detention applies upon a judicial officer’s determination that the necessary predicate for



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invoking the presumption has been established:

              Subject to rebuttal by the person, it shall be presumed that
              no condition or combination of conditions will reasonably
              assure the appearance of the person as required and the
              safety of the community if the judicial officer finds that there
              is probable cause to believe that the person committed . . .
              an offense under § 924(c) . . . .

18 U.S.C. § 3142(e)(3)(B) (emphasis added).

       Likewise, numerous courts have concluded that a defendant need not be

charged with a violation of § 924(c) for the judicial officer to conclude that a presumption

of detention applies. See Lee, 206 F. Supp. 3d at 110 (concluding presumption of

detention applies under § 3142(e)(3)(B) notwithstanding fact that defendant was not

charged with a violation of § 924(c)); United States v. Farguson, 721 F. Supp. 128, 129–

31 (N.D. Tex. 1989) (same); United States v. Bess, 678 F. Supp. 929, 932 (D.D.C.

1988) (same).

       To be sure, in United States v. Chimurenga, 760 F.2d 400, 405 (2d Cir. 1985),

the Second Circuit concluded that the presumption of detention did not apply to a

defendant because the government had not yet charged that defendant with a violation

of § 924(c). In reaching this conclusion, the Second Circuit held that § 3142(e) could

not apply except in accordance with § 3142(a)(4), which provides that “[u]pon the

appearance before a judicial officer of a person charged with an offense, the judicial

officer shall issue an order that, pending trial, the person be . . . detained under

subsection (e).” Id. at 405. However, as the District Court for the District of Columbia

points out in Bess:

              With due deference to the Court of Appeals for the Second
              Circuit, this Court does not read the “plain language of the
              statute” as indicating that the presumption “was intended to

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                 arise only after a defendant has been charged with the
                 particular offense by a valid complaint or
                 indictment.” [Chimurenga, 760 F.2d at 405.] The “plain
                 language” of § 3142(e) states that the presumption applies
                 upon a finding by “the judicial officer” that there is probable
                 cause to believe that the person committed an offense
                 under 18 U.S.C. § 924(c). Section 3142(a), upon which the
                 Second Circuit relied, speaks of a person charged
                 with an offense, a necessary first step to determining
                 whether a particular person is properly before the court, and
                 if so whether he should be released or detained pending
                 further proceedings. It is undisputed that Defendant was
                 charged with an offense.

678 F. Supp. at 932 (emphasis in original). This Court agrees with the construction of

§§ 3142(a) and 3142(e)(3) followed in Bess.

       Here, the Court concludes that there is probable cause to believe that Defendant

committed a violation of § 924(c). 1 After all, a grand jury has concluded there is



       1
           Section 924(c)(1)(A) provides that:

                 Except to the extent that a greater minimum sentence is otherwise
                 provided by this subsection or by any other provision of law, any
                 person who, during and in relation to any crime of violence or drug
                 trafficking crime (including a crime of violence or drug trafficking
                 crime that provides for an enhanced punishment if committed by
                 the use of a deadly or dangerous weapon or device) for which the
                 person may be prosecuted in a court of the United States, uses or
                 carries a firearm, or who, in furtherance of any such crime,
                 possesses a firearm, shall, in addition to the punishment provided
                 for such crime of violence or drug trafficking crime--

                 (i) be sentenced to a term of imprisonment of not less than 5
                 years;

                 (ii) if the firearm is brandished, be sentenced to a term of
                 imprisonment of not less than 7 years; and

                 (iii) if the firearm is discharged, be sentenced to a term of
                 imprisonment of not less than 10 years.

       A “crime of violence” is defined as an offense that is a felony and: (1) “has as an element
the use, attempted use, or threatened use of physical force against the person or property of
another,” or (2) “that by its nature, involves a substantial risk that physical force against the

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probable cause to believe that the Defendant committed the crime of foreign murder—a

crime of violence—by killing his wife, Bianca Rudolph. (ECF No. 26 at 1.) Moreover,

there is evidence that Ms. Rudolph was shot in the chest with a shotgun. (ECF No. 4-2

at 3–4, 7 ¶¶ 10, 17.) As such, the Court concludes that there is probable cause to

believe that the Defendant committed violation of § 924(c), thus triggering the

presumption of detention under § 3142(e)(3).

       2.     Risk of Flight

       Acknowledging that the Defendant is “wealthy, owns property in Mexico,” and

“has traveled extensively internationally,” Judge Mix concluded that “no condition or

combination of conditions of release will reasonably assure the appearance of the

[D]efendant.” (ECF No. 23 at 3.)

       The Defendant argues that he “poses no actual risk of flight, much less a serious

one.” (ECF No. 42 at 6.) He emphasizes that he made no efforts to flee or hide assets

despite being aware of the Government’s investigation and the possibility of a lengthy

sentence, and that there is no link between his financial resources and any tendency to

flee. (Id. at 7, 9–10.) For support, he cites numerous cases in which courts have noted

that the mere opportunity for flight is not sufficient grounds for pretrial detention. (Id. at

7–8 (citing United States v. Himler, 797 F.2d 156, 162 (3d Cir. 1986); United States v.

Hoover, 2014 WL 2094201, at *11 (D. Ariz. May 20, 2014); and United States v. Chen,

820 F. Supp. 1205, 1208 (N.D. Cal. 1992)).)

       The Defendant further argues that the fact that he owns property in Mexico and

has traveled extensively internationally does not demonstrate that he is a flight risk


person or property of another may be used in the course of committing the offense.” Id. §
924(c)(3).

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 given that he has surrendered his passport and “always returned from his trips,” and

 because the Government does not contend that it ever advised the Defendant not to

 leave the country. (Id. at 8–9.) He points out that he has no criminal history (see id. at

 10), and that he is “no condition to abscond” as he is a 67-year-old man who “suffers

 from a documented congenital heart disease,” “depends on a pacemaker,” “is under

 constant treatment and monitoring by the Mayo Clinic,” and “has had several heart

 surgeries” (ECF No. 46 at 8).

        In response, the Government emphasizes that the Defendant has accumulated

 vast wealth of up to $27 million in assets, and has “extensive overseas contacts, foreign

 property, and an intimate familiarity with what it takes to live long periods outside the

 country.” (ECF No. 45 at 5–7.) The Government further argues that the Defendant has

 more incentive to flee now that he has been indicted by a grand jury, faces a potential

 life sentence, and has insight into the strength of the Government’s evidence. (Id. at 11;

 see id. at 8 (arguing there is a “enormous difference between the possibility of charges

 and their reality” (emphasis in original)).)

        After carefully considering the parties’ arguments, the Court concludes that the

 Government has established that Defendant is a clear flight risk and that there is no

 condition or combination of conditions that will reasonably assure his appearance.

        To be sure, the Defendant lacks any criminal history and has returned from his

 prior international trips despite knowing that he was under federal investigation.

 However, in the Court’s view, there is a significant difference between the Defendant

 knowing he is under investigation and knowing he has been indicted by a grand jury for

 foreign murder, a charge that potentially carries a life sentence. See U.S. Sentencing



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 Guidelines Manual § 2A1.1 & cmt. 2(A); see also United States v. Madoff, 316 F. App’x

 58, 59 (2d Cir. 2009) (holding that the district court did not clearly err in concluding that

 the defendant’s age (70 years old) and length of his potential sentence were incentives

 to flee); Matter of Extradition of Ricardo Alberto Martinelli Berrocal, 263 F. Supp. 3d

 1280, 1305 (S.D. Fla. 2017) (recognizing in extradition case that fact that 66-year old

 defendant faces a potential 21 year sentence contributes to a determination that he

 poses a serious risk of flight); United States v. Brimager, 2014 WL 6632787, at *7 (S.D.

 Cal. Nov. 21, 2014) (recognizing that “[t]he prospect of up to 20 years in custody if there

 are convictions provides strong incentive for Defendant to flee”); Duran v. United States,

 36 F. Supp. 2d 622, 628 (S.D.N.Y. 1999) (noting that the petitioner’s potential term of

 imprisonment, which may outlast his remaining years of life, is a “significant incentive to

 flee”).

           The Defendant understandably contests the strength of the Government’s

 evidence; however, the Court agrees with Judge Mix’s conclusion that there is

 significant probative evidence against Defendant. (See ECF No. 37 at 154 (JUDGE

 MIX: “And I understand why the Defendant wants to say that this is a weak case and

 wants the Court to reach that conclusion, but I cannot.”).) As Judge Mix recognized in

 the Detention Order:

                 [T]he [G]overnment provided evidence of a lengthy evidence
                 investigation into the circumstances underlying the charges,
                 which includes forensic testing showing the implausibility
                 that the decedent’s fatal wound resulted from an accident or
                 suicide attempt, [D]efendant’s inconsistent statements about
                 his whereabouts at the time of the incident, [D]efendant’s
                 rush to cremate the decedent’s body, [D]efendant’s
                 misrepresentation to family members about extending the
                 safari as well as his misrepresentation to foreign authorities
                 that he need not immediately notify his children of the fatality

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                because the decedent was not their biological mother.

 (ECF No. 23 at 3.) 2 Given the nature of his charges and the strength of the

 Government’s evidence (see ECF Nos. 4-2, 14, 37), the Court concludes that the

 Defendant has a strong incentive to flee.

        Moreover, even though some of Defendant’s wealth has been seized as part of a

 forfeiture action, the Defendant still has more than adequate funds to arrange flight from

 the pending charges and has substantial funds for his living expenses if he flees. (ECF

 No. 37 at 67–68 (estimating Defendant’s net worth to be around $6.2 million, not

 including property that has been seized or is subject to ongoing forfeiture proceedings);

 see id. at 155 (recognizing that Defendant reported over $27 million in assets to Pretrial

 Services).)

        To be sure, the fact that Defendant has significant assets alone does not

 demonstrate that he is a risk of flight or justify detention. See Himler, 797 F.2d at 162

 (“Mere opportunity for flight is not sufficient grounds for pretrial detention.”). However,

 when considering the Defendant’s wealth in combination with the other factors that

 render the Defendant a flight risk, the Court cannot ignore that Defendant’s substantial

 resources provide him means to flee. See e.g., United States v. Maxwell, 510 F. Supp.

 3d 165, 174 (S.D.N.Y. 2020) (recognizing that “the Defendant’s extraordinary financial

 resources also continue to provide her the means to flee the country and to do so



        2
            In the Motion to Revoke, the Defendant cites case law stating that weight of the
 evidence is the “least important” § 3142(g) factor and speculates that “[t]he detention order . . .
 shows that the magistrate judge gave [the factor relating to the strength of the evidence] the
 most weight, devoting the order’s lengthiest paragraph to a summary of the [G]overnment’s
 circumstantial evidence.” (ECF No. 42 at 13 (emphasis in original).) This argument is baseless.
 After all, the length of a paragraph has no bearing on the weight that Judge Mix gave this factor.


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 undetected,” which in combination with her substantial international ties, foreign

 connections, and experience avoiding detection, “bear[s] significantly on the flight risk

 analysis”); United States v. Boustani, 356 F. Supp. 3d 246, 255 (E.D.N.Y. 2019),

 aff’d, 2019 WL 2070656 (2d Cir. Mar. 7, 2019) (“[T]he combination of Defendant’s

 alleged deceptive actions, access to substantial financial resources, frequent

 international travel, complete lack of ties to the United States, and extensive ties to

 foreign countries without extradition demonstrates Defendant poses a serious risk of

 flight.”); United States v. Zarrab, 2016 WL 3681423, at *8 (S.D.N.Y. June 16, 2016)

 (recognizing that defendant’s significant wealth, extensive international travel, and

 strong ties to foreign countries “provide [the defendant] with the incentive and the

 wherewithal to flee and render him a flight risk”); Hoover, 2014 WL 2094201, at *12

 (concluding wealthy defendant is a risk of flight based, in part, on his connections to his

 foreign property and money, and his international travel experience).

        Likewise, although Defendant contends that he is not a risk of flight based on his

 health conditions (ECF No. 46 at 8), the Court notes that Defendant fails to provide any

 evidence demonstrating the severity of his purported medical conditions and instead

 merely relies on attorney argument on this point. See United States v. Ramos-

 Caballero, 2021 WL 5176051, at *2 n.1 (10th Cir. Nov. 8, 2021) (recognizing that

 attorney argument is not evidence). Moreover, there is evidence that the Defendant’s

 health conditions are not so serious such that they prevent him from traveling to remote

 foreign countries to hunt big game animals. (See also ECF No. 37 at 63 (SPECIAL

 AGENT PETERSON: “Based on travel records back to 2009, with the exception of the

 most recent COVID-impacted year, the Defendant spends between two to three months



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 every year traveling internationally.”); see id. at 65 (SPECIAL AGENT PETERSON:

 “According to travel records and a recent interview with Mr. Swanepoel, I believe Mr.

 Rudolph traveled to Ethiopia on or about May 22nd of 2021. He was scheduled to

 participate in a 14-day leopard hunt with Mr. Swanepoel.”).) Just as the Defendant’s

 health conditions did not lessen his ability to travel, the Court cannot conclude that the

 Defendant’s health conditions lessen his risk of flight.

        For the reasons stated above, the Court concludes that the Government has met

 its burden of persuasion by a preponderance of the evidence that the Defendant

 presents a risk of flight.

        3.      Danger to the Community

        In the Detention Order, Judge Mix determined that “no condition or combination

 of conditions of release will reasonably assure . . . the safety of the community.” (ECF

 No. 23 at 3.) In making this determination, Judge Mix noted the Defendant’s charges,

 as well as evidence regarding the “[D]efendant’s volatile personality and threats of

 physical harm to others.” (Id.)

        The Defendant argues that the Government has failed to establish that he

 presents an “identified and articulable threat to an individual or the community,” such

 that he should be detained pending trial. (ECF No. 42 at 13 (citing United States v.

 Salerno, 481 U.S. 739, 751 (1987)).) For support, emphasizes that the case against

 him is weak and that he did not murder Ms. Rudolph, that the Government waited to

 arrest him, and that the evidence regarding his volatile personality includes mere

 “hearsay complaints of disgruntled employees and comments between friends over

 drinks about completely unrelated events.” (Id. at 11–18 (arguing “[i]t was legal error to



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 deem an abrasive personality a factor favoring incarceration”).)

        However, as explained in Part III.A.2, the Court cannot agree that the evidence

 against Defendant is weak. The Defendant is charged with the violent crime of

 murdering his wife with a shotgun. 3 Moreover, the Defendant’s history specific threats

 of violence go beyond a mere “abrasive personality.” To the contrary, Special Agent

 Peterson testified about the Defendant’s specific threats, including requests that an

 individual “put him in contact with a Nigerian who could travel to the United States to

 threaten or intimidate folks to help him with an issue he was having,” as well as threats

 that the Defendant “would hire a Nigerian to shoot [a coworker] in the head” and that the

 Defendant “would just shoot [the coworker] himself.” (ECF No. 37 at 71–73.) Special

 Agent Peterson also recounted an interview with another former employee of the

 Defendant’s dental practice in which the former employee stated that the Defendant

                offered [him] what [the Defendant] characterized as a
                ‘generous commission’ of approximately $25,000 if he could
                take care of something for him. This individual understood
                that to mean that [the Defendant] was offering him $25,000 if
                he could facilitate or make arrangements to have someone
                killed. And [the Defendant] reportedly went on to ask this
                individual, who appears to be Hispanic, if any of his hombres
                could come up from Mexico to facilitate this.

 (Id. at 73–74.) 4 The serious nature of these threats, supported by the specific factual




        3
          While the Defendant emphasizes that “[n]ot one witness ever saw [the Defendant] be
 violent with his wife” (see ECF No. 42 at 12 (citing ECF No. 37 at 109)), this testimony has little
 impact on the Court’s dangerousness analysis given that a grand jury has concluded that there
 is probable cause to believe that the Defendant later murdered Ms. Rudolph.
        4
          To the extent that the Defendant emphasizes that the threats discussed at the
 Detention Hearing are “hearsay complaints,” the Court notes that the Defendant cites no case
 law suggesting that the district court cannot consider hearsay statements during a detention
 hearing. Cf. United States v. Valdez, 682 F. App’x 684, 686 (10th Cir. 2017) (“[N]umerous
 courts have held that hearsay is permissible in a detention hearing.”); United States v. Reed,

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 details of those threats, weigh heavily in the Court’s determination that the Defendant,

 who faces a life sentence if convicted of foreign murder, poses a danger to the

 community and the specific witnesses who may testify against him at trial.

        To the extent that the Defendant contends that “the agents would have arrested

 him at the earliest opportunity” “[i]f [Defendant] were truly dangerous and violent” (ECF

 No. 42 at 11), the Court is unpersuaded. There are numerous reasons why the

 Government might wait to finish its investigation before arresting the Defendant,

 including the fact that his arrest begins the speedy trial clock for the Government to

 present the case to the grand jury and obtain an indictment. See 18 U.S.C. § 3161(b)

 (“Any information or indictment charging an individual with the commission of

 an offense shall be filed within thirty days from the date on which such individual was

 arrested or served with a summons in connection with such charges.”).

        The Court therefore concludes that the Government has demonstrated by clear

 and convincing evidence that the Defendant is a danger to the community.

                                             ****

        After carefully weighing and considering the relevant § 3142(g) factors, the Court

 concludes that the presumption in favor of detention, the nature and characteristics of

 the charged offenses, the weight of the evidence, and the history and characteristics of

 the Defendant all weigh in favor of detention.

        Even assuming arguendo that the presumption of detention did not apply in this

 case, the Court would nonetheless conclude that the Government has met its burden in

 establishing that the Defendant is a flight risk and a danger to the community, such that


 2021 WL 321262, at *4 (D. Colo. Jan. 30, 2021) (recognizing that “hearsay evidence is
 generally admissible in proceedings held under the Bail Reform Act”).

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 the Defendant should be detained.

        The Court next turns to the question of whether is any condition or combination

 of conditions of release that would reasonably assure the Defendant’s appearance and

 guarantee the safety of the community.

        3.     Consideration of the Defendant’s Proposed Bail Package

        The Defendant argues that Judge Mix erred by failing to consider and properly

 weigh any “reasonable alternative” to pre-trial detention, including his proposal for

 conditions of pretrial release that include:

        •      a $5 million personal recognizance bond, co-signed by his two children

               and secured by the Defendant’s home and the homes of both children;

        •      house arrest in custody of either: (1) his girlfriend, Lori Milliron, in Phoenix,

               Arizona; (2) his son in Miami, Florida, or (3) his daughter in Cranberry,

               Pennsylvania, with “travel only for court appearances, meetings with

               counsel, visits with medical providers, with approval of Pretrial Services

               and subject to electronic monitoring”;

        •      a directive that any visitors are to be approved by Pretrial Services, with

               counsel and family members to be pre-approved;

        •      surrender of all travel documents with no new applications;

        •      surrender of all firearms;

        •      no contact with any potential witness in this case;

        •      a directive that the Defendant will not encumber any property or use his

               resources, other than for basic living expenses and for legal counsel,

               and/or “any other financial monitoring that the Court deems necessary”;


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        •      if necessary, a directive that the Defendant pay for on-premises, round-

               the-clock private security guards that “could report to Pretrial Services if

               the Court so orders”; and

        •      such other terms as the Court may deem appropriate.

 (ECF No. 42 at 3–11, 18.) In proposing these conditions of pretrial release, the

 Defendant points out that the Second Circuit has recognized in United States v.

 Sabhnani, 493 F.3d 63 (2d Cir. 2007) and United States v. Boustani, 932 F.3d 79 (2d

 Cir. 2019) that a private-security condition may be appropriate where a defendant is

 deemed to be a flight risk primarily because of his wealth. (Id. at 8.) The Government

 responds that Defendant’s bond proposals are “unsupported and unworkable.” (See

 ECF No. 45 at 9–11.)

        The Court concludes that the Defendant’s proposed conditions of release would

 not, alone or in combination, reasonably assure the Defendant’s appearance or

 guarantee the safety of the community. The GPS system, “while technologically

 sophisticated, is ultimately just another form of electronic surveillance, and ‘monitoring

 equipment is easily rendered inoperative or becomes so by mechanical failure.’” United

 States v. Benatar, 2002 WL 31410262, at *3 (E.D.N.Y. Oct. 10, 2002) (quoting United

 States v. Gotti, 776 F. Supp. 666, 673 (E.D.N.Y. 1991)). Moreover, as other courts

 have observed, “home detention with electronic monitoring does not prevent flight; at

 best, it limits a fleeing defendant’s head start.” Maxwell, 510 F. Supp. 3d at 177

 (quoting United States v. Zarger, 2000 WL 1134364, at *1 (E.D.N.Y. Aug. 4, 2000)).

 Defendant’s surrender of his passport likewise does not prevent his flight. 5 United


        5
          The Court notes that wealthy defendants facing serious charges have been able to use
 their substantial financial resources to leave the country from which they face charges. See,

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 States v. Wasendorf, 2012 WL 4793366, at *3 (N.D. Iowa Oct. 9, 2012) (“Although

 ‘fleeing’ is typically associated with fleeing ab[ro]ad, fugitives flee with the United States’

 [borders] successfully as well. Moreover, it is possible—although difficult—to flee

 abroad without a passport.”).

        While the Defendant represents that he is willing to be released to the custody of

 his girlfriend or a family member and produces affidavits from his children stating that

 they are willing to secure the Defendant’s bond with their homes (ECF Nos. 42-1, 42-2),

 such promises provide little assurances of Defendant’s appearance given Defendant’s

 substantial financial resources. See, e.g., Maxwell, 510 F. Supp. 3d at 176–77

 (recognizing that third party pledges supporting defendant’s bond “do[ ] not meaningfully

 mitigate the possibility of flight” where the defendant would retain significant assets and

 future income streams that would “plausibly enable her to compensate [the third

 parties], in part or in full, for their losses”); Benatar, 2002 WL 31410262, at *2

 (recognizing that if the court accepted the defendant’s proposed bond secured by his

 ex-relatives and friends’ homes, the wealthy defendant “could simply reimburse his ex-


 e.g., Justin McCurry, Ex-Nissan boss Carlos Ghosn talks of daring escape from Japan, The
 Guardian, July 14, 2021, https://www.theguardian.com/business/2021/jul/14/ex-nissan-boss-
 carlos-ghosn-talks-of-daring-escape-from-japan (detailing how Carlos Ghosn was smuggled out
 of Japan in a large musical instrument case and flown to Lebanon in a private plane while
 awaiting trial on charges of financial misconduct). While the cost of chartering a private jet
 undoubtedly varies, Defendant certainly has the financial means to do so even using the most
 conservative estimates of his net worth. See Dori Zinn, How much does a private jet cost?,
 Bankrate, https://www.bankrate.com/loans/personal-loans/how-much-does-a-private-jet-cost/
 (recognizing that “[t]he typical cost [to charter a private jet] is between $2,000 and $23,000 per
 hour”).

         Moreover, if an individual has substantial funds—like the Defendant does here—he can
 purchase foreign citizenship and a passport. See, e.g., Taylor Borden, 9 countries where you
 can easily buy citizenship and how to do it, Business Insider, Oct. 1, 2020
 https://www.businessinsider.com/second-passport-cost-dual-citizenship-by-investment-
 caribbean-europe-2020-1 (listing several countries from which individuals can purchase foreign
 citizenship by making a direct investment in the country and thereby receive a foreign passport).

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 relatives and friend for the $740,000 cost of his jumping bail”).

        Moreover, the Court rejects Defendant’s offer to hire private security guards.

 Although the Second Circuit recognized in Boustani that a defendant may “be released

 on such a condition only where, but for his wealth, he would not have been detained,”

 932 F.3d at 82 (emphasis in original), the risk of flight factors in this case extend beyond

 Defendant’s extensive wealth. The Court is also deeply troubled by any suggestion that

 the Defendant, by virtue of his wealth, should be able to buy his way out of detention by

 constructing a private jail from the comfort of his girlfriend or relative’s home. 6 See

 Boustani, 932 F.3d at 82 (recognizing that “the Bail Reform Act does not permit a two-

 tiered bail system in which defendants of lesser means are detained pending trial while

 wealthy defendants are released to self-funded private jails”); United States v. Agnello,

 101 F. Supp. 2d 108, 115 (E.D.N.Y. 2000) (“Congress did not intend that a dangerous

 individual should be released because that individual was sufficiently affluent to be able

 to pay the cost of extravagant release conditions monitored by private security

 officers.”); United States v. Bellomo, 944 F. Supp. 1160, 1167 (S.D.N.Y. 1996) (“The

 government is not obligated to replicate a jail in [the defendant’s] home so that he can

 be released.”).




        6
          Moreover, as numerous courts have recognized, a private security condition add
 additional administrative burdens on the court system and could embroil the Court in numerous
 issues relating to the private security firm’s enforcement ability. See United States v. Epstein,
 425 F. Supp. 3d 306, 325 (S.D.N.Y. 2019) (“The Defense package components would embroil
 the Court in issues, among others, relating to the level of force that may be used to secure the
 Defendant . . . .”); United States v. Valerio, 9 F. Supp. 3d 283, 295 (E.D.N.Y. 2014) (“The
 questions about the legal authorization for the private security firm to use force against
 defendant should he violate the terms of his release, and the questions over whether the guards
 can or should be armed, underscore the legal and practical uncertainties—indeed, the
 imperfections—of the private jail-like concept envisioned by defendant, as compared to the
 more secure option of an actual jail.”).

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       For the reasons set forth above and after considering the § 3142(g), the Court

 affirms Judge Mix’s assessment that no condition or combination of conditions will

 reasonably assure the appearance of the Defendant as required and the safety of any

 other person and the community. Accordingly, the Court finds that Defendant’s

 detention was proper and denies Defendant’s Motion to Revoke.

 B.    Consideration of § 3142(i) Factors

       Having found that Defendant must be detained, the Court now evaluates whether

 it will nonetheless “permit [him] temporary release” because it is “necessary for

 preparation of [his] defense or for another compelling reason.” 18 U.S.C. § 3142(i).

       In his Motion for Temporary Release, Defendant argues that “[t]he combination of

 the pandemic, the measures imposed to address it, and [the Defendant’s] detention in a

 jurisdiction foreign to him—where he lacks the support of any friends or family who

 could visit him and assist him in organizing his affairs to mount his defense—makes

 preparing for a murder trial nearly impossible and provides not merely sufficient but

 compelling grounds for his temporary release.” (ECF No. 31 at 1.) The Court considers

 each argument below.

       1.     Risk of Contracting COVID-19 and the Defendant’s Health Conditions

       The Defendant argues that he suffers from serious medical issues that “render

 him particularly vulnerable to contracting and succumbing to COVID[-19].” (ECF No. 31

 at 5.) Specifically, the Defendant argues that his medical conditions include “a severe

 heart problem that required heart surgery less than a year ago, a pacemaker implant,

 and 24-hour monitoring by an app on his phone that his connected to Mayo Clinic.” (Id.;

 see also ECF No. 38 at 5–6.) In response, the Government argues that Judge Mix had



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 already considered, and rejected, Defendant’s arguments relating to his vulnerabilities

 to COVID-19 and that the Defendant has not met his burden to show that “he uniquely

 deserves temporary release because of COVID-19.” (ECF No. 35 at 4.)

        The Court finds that the Defendant has failed to demonstrate that his medical

 conditions place him at a serious risk if he contracts COVID-19, such that he should be

 released from detention. As the Court noted in Part III.A.2, the Defendant has not

 provided any evidence demonstrating the severity of his purported medical conditions.

 Nor has he provided evidence of his vaccination status. 7 Moreover, because the

 Defendant has now tested positive for COVID-19 in jail (ECF No. 46 at 3), the Court

 finds that the Defendant’s arguments that he should be temporarily released from

 detention based on his specific risk factors to contracting COVID-19 are now moot.

        2.     Preparation of His Defense

        The Defendant further argues that “being forced to defend himself in a place far

 away from his lawyer, his family, and his friends will be enormously burdensome under

 the circumstances.” (ECF No. 31 at 5.) He points out that “[t]o see [the Defendant] in

 person to review discovery and prepare for trial, counsel will need to travel (both risking

 exposure to COVID[-19] and needlessly wasting time and resources) and then visit [the




        7
           The Court notes that many of the cases cited by the Defendant in which temporary
 release was granted based on the COVID-19 pandemic occurred in early stages of the
 pandemic when the disease’s scope and effects were not clear and there was no vaccine
 available. (See ECF No. 31 at 2.) The present stage of the pandemic is different due to the
 availability of vaccines that have proven effective at reducing the severity of COVID-19.
 Moreover, there is a “‘growing consensus’ that either receiving or refusing COVID-19
 vaccination ‘weighs against a finding of extraordinary and compelling circumstances’” within the
 analogous compassionate release context. United States v. Hald, 8 F.4th 932, 936 n.2 (10th
 Cir. 2021) (quoting United States v. Baeza-Vargas, 532 F. Supp. 840, 843–46 (D. Ariz. 2021)
 (collecting cases)).


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 Defendant] in the jail (which has numerous COVID[-19] outbreaks at present).” (Id.)

 Defense counsel also attaches an affidavit in support of the Defendant’s reply brief in

 which he outlines the numerous issues in which counsel has encountered in attempting

 to communicate with the Defendant. (See ECF No. 38-1.)

        The Court is unpersuaded by the Defendant’s argument that the conditions of his

 confinement are uniquely onerous or interfere with his ability to participate in his

 defense, and thus justify his release. 8 The Court does not dispute that many of the

 Denver Downtown Detention Center’s COVID-19 policies—which were implemented to

 enhance the safety of detainees and the jail staff—may present challenges to

 communication with counsel. It appears likely that the policies implemented may make

 it more difficult for detained defendants to communicate with counsel in the short term.

        However, many of the difficulties cited by defense counsel also appear to be

 connected with the Defendant’s COVID-19 exposure (and subsequent positive test),

 which will likely resolve once the Defendant recovers from COVID-19. The Court further

 concludes that the Defendant fails to adequately allege that the facility’s alternative

 methods of telephonic or video-communication deprive him of his right to effective

 counsel or pose such an onerous burden on the Defendant that his release from

 detention is appropriate. To the extent the Defendant and his counsel require additional


        8
           The Defendant’s arguments regarding the burdens associated with counsel traveling to
 communicate with the Defendant fall flat. If the Court were to accept the Defendant’s argument
 on this topic, defendants who are able to afford to retain counsel would be placed in the
 privileged position over defendants with appointed counsel by being released from detention
 because they are able—and choose—to retain out-of-state counsel. Moreover, the Court notes
 that at the time he filed his Motion for Temporary Release, the Defendant was requesting to be
 released to “24-hour lockdown at his house in Phoenix under the supervision of a GPS monitor.”
 (ECF No. 31 at 6.) Defense counsel, who resides in Florida, would still have to travel to
 communicate with the Defendant in person in Arizona, with the costs and duration of such travel
 from Florida comparable to travel from there to Colorado.

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 time to confer, review discovery, and/or prepare his defense, he may make an

 application to the Court for a further extension of time.

        Finally, to the extent that the Defendant attempts to argue that the District of

 Colorado is an improper venue for this action or that government agents acted in an

 unconstitutional manner (see ECF No. 31 at 3–5; ECF No. 38 at 2–4), the Court notes

 that this is not the proper juncture to consider those arguments. If the Defendant

 wishes to raise such arguments, he may do so at an appropriate time through properly

 filed motions. For purposes of this order, the Court finds that the Defendant has failed

 to convincingly establish that his detention in Colorado provides the Government with a

 tactical advantage warranting the Defendant’s pretrial release. 9

        After careful consideration of the parties’ arguments and the factors justifying

 Defendant’s detention, the Court is unable to conclude that Defendant’s temporary

 release from detention is necessary for the preparation of his defense or for another

 compelling reason. 10 Accordingly, the Court denies the Motion for Temporary Release.

                                      IV. CONCLUSION

        For the reasons set forth above, the Court ORDERS as follows:

 1.     Defendant’s Motion for Temporary Release Pursuant to 18 U.S.C. § 3142(i) (ECF

        No. 31) is DENIED;

 2.     Defendant’s Motion to Revoke Order of Detention and Request for Hearing (ECF


        9
           The Defendant states that Special Agent Peterson testified at the detention hearing
 “that the prosecution deliberately set out to gain an unfair advantage by isolating [the
 Defendant] from his children, his friends, and his lawyers.” (ECF No. 31 at 2.) This statement is
 unsupported by the record, and the Court will not consider it further.
        10
          Because the Court denies the Motion for Temporary Release, the Court need not
 address the Government’s arguments that the Defendant’s request for indefinite release is
 impermissible under § 3142(i). (See ECF No. 35 at 2.)

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       No. 42) is DENIED; and

 3.    Judge Mix’s January 4, 2022 detention order (ECF No. 23) is AFFIRMED.

       Dated this 27th day of January, 2022.

                                                BY THE COURT:



                                                __________________________
                                                William J. Martínez
                                                United States District Judge




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